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 7   [Submitting Counsel on Signature Page]
 8                                UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

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11   IN RE: JUUL LABS, INC., MARKETING,                     Case No. 19-md-02913-WHO
     SALES PRACTICES, AND PRODUCTS
12   LIABILITY LITIGATION                                   JOINT SUBMISSION IDENTIFYING
                                                            SELECTED GOVERNMENT ENTITY
13                                                          COMPLAINTS FOR PURPOSES OF
                                                            MOTIONS PRACTICE
14   This Document Relates to:
15   ALL ACTIONS
16

17          As set forth in the Parties’ April 11, 2020 Case Management Conference Statement, ECF

18   442, at 14-15, the Parties identify the following government entity complaints that have been

19   selected for purposes of motion to dismiss briefing.

20              1. Tucson Unified School District v. Juul Labs, Inc., et al; ND Cal 3:19-cv-07335-

21                  WHO (D. Az., Tucson Div.);

22              2. County of Santa Cruz v. Juul Labs, Inc., et al; ND Cal 3:20-cv-02261-WHO (N.D.

23                  Cal., San Jose Div.);

24              3. Livermore Valley Joint Unified School District v. Juul Labs, Inc., et al; ND Cal

25                  3:19-cv-08176-WHO (N.D. Cal., S.F. Div.);

26              4. Escambia County School District v. Juul Labs, Inc., et al; ND Cal 3:19-cv-00459-

27                  WHO (N.D. Fl.);

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                                                                   JOINT SUBMISSION IDENTIFYING SELECTED
                                                     1                    GOVERNMENT ENTITY COMPLAINTS
 1   5. The School Board of Broward County v. Juul Labs, Inc., et al; ND Cal 3:19-cv-
 2      08289-WHO (N.D. Cal., S.F. Div.);
 3   6. Three Village Central School District v. Juul Labs, Inc., et al; ND Cal 3:19-cv-
 4      07028-WHO (E.D. NY); and
 5   7. Central Bucks School District, Bucks County v. Juul Labs, Inc., et al; ND Cal
 6      3:19-cv-08023-WHO (E.D. PA).
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                                                       JOINT SUBMISSION IDENTIFYING SELECTED
                                         2                    GOVERNMENT ENTITY COMPLAINTS
 1   Dated: April 20, 2020                         Respectfully submitted,
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                                                              JOINT SUBMISSION IDENTIFYING SELECTED
                                               3                     GOVERNMENT ENTITY COMPLAINTS
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                                                       JOINT SUBMISSION IDENTIFYING SELECTED
                                                   4          GOVERNMENT ENTITY COMPLAINTS
